           Case 1:19-cv-07586-VSB Document 37 Filed 12/30/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :                      12/30/2020
ESE A. O’DIAH,                                            :
                                                          :
                                        Plaintiff,        :
                                                          :        19-CV-7586 (VSB)
                      - against -                         :
                                                          :             ORDER
                                                          :
TBTA-TRIBOROUG BRIDGE AND                                 :
TUNNEL AUTHORITY,                                         :
                                                          :
                                         Defendant. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        On October 1, 2020, I ordered that Defendant’s motion to dismiss, (Doc. 20), be held in

abeyance until resolution of a jurisdictional issue I had identified, (Doc. 35.) In that October 1,

2020 order, I instructed the parties to provide me with specific information regarding a

proceeding referenced in Paragraph 46 of Plaintiff’s Amended Complaint. (Id.) On December

18, 2020, Defendant submitted a response to that order, along with two exhibits, identifying the

administrative hearing it believes Plaintiff was referencing in the complaint. (Doc. 36.)

Plaintiff has not provided his own submission. Accordingly, it is hereby:

        ORDERED that Plaintiff shall submit any submission in response to my order at Doc. 35,

and/or any response to Defendant’s submission at Doc. 36, on or before February 5, 2021.

        The Clerk is directed to mail a copy of this Order to the pro se Plaintiff.

SO ORDERED.
        Case 1:19-cv-07586-VSB Document 37 Filed 12/30/20 Page 2 of 2




Dated: December 30, 2020
       New York, New York

                                        ______________________
                                        Vernon S. Broderick
                                        United States District Judge




                                        2
